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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors.1                          (Jointly Administered)

                                                         Hearing Date: August 30, 2023 at 3:00 P.M. (ET)
                                                                        Objections Due: At the Hearing

             NOTICE OF HEARING2 ON DEBTORS’ MOTION TO ASSUME
              AND/OR ENTER INTO REIMBURSEMENT AGREEMENTS
           WITH PROFESSIONALS FOR THE AD HOC NOTEHOLDER GROUP

         PLEASE TAKE NOTICE that on August 25, 2023, the above-captioned debtors

(collectively, the “Debtors”), filed the Debtors’ Emergency Motion to Assume and/or Enter Into

Reimbursement Agreements With Professionals for the Ad Hoc Noteholder Group [Docket No. 148]

(the “Bondholder Fee Motion”) and Motion to Shorten Notice and Schedule Expedited Hearing on

Debtors’ Emergency Motion to Assume and/or Enter Into Reimbursement Agreements With

Professionals for the Ad Hoc Noteholder Group [Docket No. 149] (the “Motion to Shorten”) with

the United States Bankruptcy Court for the District of Delaware, 824 North Market Street, 3rd

Floor, Wilmington, Delaware 19801 (the “Bankruptcy Court”). A copy of the Bondholder Fee

Motion and Motion to Shorten were previously served upon you.

         PLEASE TAKE FURTHER NOTICE that on August 25, 2023, the Bankruptcy Court

entered the Order Granting Motion to Shorten Notice and Schedule Expedited Hearing on



1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s principal
    place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street, Suite 100,
    Emeryville, CA 94608.
2
    Any party who wishes to attend the video conference is required to register at the following link:
    https://debuscourts.zoomgov.com/meeting/register/vJItduyprjwpHEX2JYOrO10uHqvMolya1rM



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Debtors’ Emergency Motion to Assume and/or Enter into Reimbursement Agreements with

Professionals for the Ad Hoc Noteholder Group [Docket No. 151] (the “Order Shortening Notice”)

on the Motion to Shorten. A copy of the Order Shortening Notice is attached hereto as Exhibit A.

        PLEASE TAKE FURTHER NOTICE that any response or objection to the entry of an

order with respect to the relief sought in the Motion must be made at the hearing on August 30,

2023 at 3:00 p.m. (Eastern Time).

        PLEASE TAKE FURTHER NOTICE THAT A HEARING TO CONSIDER THE

RELIEF SOUGHT IN THE MOTION WILL BE HELD ON AUGUST 30, 2023 AT 3:00 PM.

(EASTERN TIME) BEFORE THE HONORABLE THOMAS M. HORAN, UNITED STATES

BANKRUPTCY COURT JUDGE VIA ZOOM AT THE LINK PROVIDED ABOVE.

 Dated: August 28, 2023                         PACHULSKI STANG ZIEHL & JONES LLP

                                                /s/ James E. O’Neill
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                                                Debra I. Grassgreen (admitted pro hac vice)
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                                                Proposed Counsel to the Debtors and
                                                Debtors-in-Possession




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